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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA
 IRMA WALKER                                    CIVIL ACTION NO.


 VERSUS                                         JUDGE


 WINN-DIXIE MONTGOMERY, LLC MAGISTRATE JUDGE
 AND WINN-DIXIE STORES, INC.

                                   NOTICE OF REMOVAL

        NOW INTO COURT, through undersigned counsel, comes defendant, WINN-DIXIE

MONTGOMERY, LLC, who pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446, hereby files

this Notice of Removal of that matter now pending in the 21st Judicial District Court, in and for

the Parish of Tangipahoa, State of Louisiana, captioned: Irma Walker versus Winn-Dixie

Montgomery, LLC and Winn-Dixie Stores, Inc., bearing Docket Number 2022-258, Division D, to

the United States District Court for the Eastern District of Louisiana. A copy of this Notice of

Removal is herewith served upon counsel of record for all parties, and further filed with the Clerk

of the aforesaid state court, in conformity with 28 U.S.C. § 1446(d).

        Defendant respectfully represents the grounds for removal as follows:

                                                1.

        On January 28, 2022, Plaintiff filed the aforementioned Petition for Damages in the 21st

Judicial District Court naming Winn-Dixie Montgomery, LLC as Defendant.

                                                2.

        The Petition was served and received by Winn-Dixie Montgomery, LLC on February 14,

2022.
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                                                    3.

        According to the Petition for Damages, Plaintiff, Irma Walker, is a citizen of the State of

Louisiana.

                                                    4.

        Defendant, Winn-Dixie Montgomery, LLC is a citizen of the State of Florida as the sole

member of Winn-Dixie Montgomery, LLC is Winn-Dixie Stores, Inc., which is a citizen of the

State of Florida as it is incorporated in and maintains its principal place of business in the State of

Florida.

                                                    5.

        This suit is between citizens of different states for purposes of 28 USC §1332(a), and

complete diversity of citizenship exists between Plaintiff and Defendant. Complete diversity also

existed at the time Plaintiff filed his Petition.

                                                    6.

        In addition, the amount in controversy exceeds the jurisdictional limit of $75,000.00.

                                                    7.

        On March 24, 2022, Winn-Dixie Montgomery, LLC filed an Answer to Plaintiff’s Petition

for Damages. Thereafter, Defendant submitted discovery to Plaintiff including Interrogatories,

Requests for Production of Documents, and Medical Authorization Requests.

                                                    8.

        Plaintiff responded to the discovery which was received by Defendant on May 25, 2022

(Attached hereto as Exhibit “A”).
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                                                9.

       In answer to Interrogatory No. 15, regarding a surgical recommendation, Plaintiff

responded, “Yes, surgical reconstruction of her left knee was necessary and has been performed

by Dr. Charles Schumacher of Covington Orthopedic & Sports Medicine Institute. An extension

of a prior lumbar fusion to include levels L3-4 has been recommended, but not yet performed.”

                                               10.

       Plaintiff’s medical records attached to her discovery responses indicated that her medical

bills incurred to date total over $55,000.00. (See Exhibit “A”)

                                               11.

       Additionally, in answer to Interrogatory No. 22, regarding whether the amount of damages

alleged in the petition were equal or in excess of $75,000.00, Plaintiff responded, “Yes.”

                                               12.

       This Notice of Removal is timely, as it has been filed within thirty (30) days after receipt

by Defendant of Plaintiff’s discovery responses and medical records which indicate that the

amount in controversy is in excess of $75,000.00.

                                               13.

       Since complete diversity exists and the amount in controversy exceeds the jurisdictional

requirement of §1332, this Honorable Court has original jurisdiction of the above-entitled action

pursuant to 28 USC §1332 and, therefore, removal of this action from state court to this Court is

proper pursuant to 28 USC §1441(a).

                                               14.

       Attached hereto as Exhibit “B” is a copy of all process, pleadings and orders served upon
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Defendant in the state court action, pursuant to 28 U.S.C. §1446(a).

                                                15.

       Pursuant to 28 U.S.C. §1446(d), Winn-Dixie Montgomery, LLC has this day given and

served written notice of this removal on all adverse parties through their counsel of record and

have filed a copy of this Notice of Removal with the Clerk of Court in the state action where the

instant suit was originally filed. (See Exhibit “C,” cover letter and Notice of Filing Notice of

Removal.) Pursuant to 28 U.S.C. §1446(a) and Rule 11 of the Federal Rules of Civil Procedure,

undersigned counsel states that the averments of this Notice of Removal are well-grounded in fact

and are warranted by existing law and that this matter is within the jurisdiction of this Court

pursuant to 28 U.S.C. §1332 and 28 U.S.C. §1441 et seq.

                                                16.

       Winn-Dixie Montgomery, LLC requests a trial by jury.

       WHEREFORE, Defendant, Winn-Dixie Montgomery, LLC, prays that this Notice of

Removal be deemed good and sufficient as required by law, that the aforesaid action, Irma Walker

versus Winn-Dixie Montgomery, LLC and Winn-Dixie Stores, Inc., bearing Docket Number 2022-

258, Division D, be removed to the United States District Court for the Eastern District of

Louisiana and that this Court have and assume full and complete jurisdiction therefore and issue

all necessary orders and grant all general and equitable relief to which defendant might be entitled,

and that all further proceedings in the state court be discontinued.
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                                                  Respectfully submitted:

                                                  ERLINGSON BANKS, PLLC


                                             By: _s/ Judson G. Banks_______________
                                                 MARY G. ERLINGSON (#19562)
                                                 JUDSON G. BANKS (#27369) TA
                                                 KAITLIN A. WALL (#39462)
                                                 One American Place
                                                 301 Main Street, Suite 2110
                                                 Baton Rouge, Louisiana 70801
                                                 Telephone: (225) 218-4446
                                                 Facsimile: (225) 246-2876
                                                 Attorneys for Winn-Dixie Montgomery, LLC



                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing Notice of Removal has this

day been sent by electronic mail and/or placed in the U.S. mail, postage prepaid, and properly

addressed to:

       Matthew D. Hemmer
       Morris Bart, LLC
       601 Poydras Street, 24th Floor
       New Orleans, LA 70130
       PH: 504-525-8000
       FX: 800-878-8937
       mhemmer@morrisbart.com

       Baton Rouge, Louisiana, this 23rd day of June, 2022.

                     ________s/Judson G. Banks____________________
                                     Judson G. Banks
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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA
 IRMA WALKER                                CIVIL ACTION NO.


 VERSUS                                     JUDGE


 WINN-DIXIE MONTGOMERY, LLC MAGISTRATE JUDGE
 AND WINN-DIXIE STORES, INC.

                                     CERTIFICATE

       NOW INTO COURT, through undersigned counsel, comes defendant, WINN-DIXIE

MONTGOMERY, LLC, who states that Exhibit “C” attached hereto constitutes the entire state

court record of “IRMA WALKER versus WINN-DIXIE MONTGOMERY, LLC AND

WINN-DIXIE STORES, INC.; Docket Number 2022-0258, Division D” on the docket of the

21st Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana, as it

understands it to be.

                                                 Respectfully submitted:

                                                 ERLINGSON BANKS, PLLC


                                           By: _s/ Judson G. Banks_______________
                                               MARY G. ERLINGSON (#19562)
                                               JUDSON G. BANKS (#27369) TA
                                               KAITLIN A. WALL (#39462)
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                                               Telephone: (225) 218-4446
                                               Facsimile: (225) 246-2876
                                               Attorneys for Winn-Dixie Montgomery, LLC
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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA
IRMA WALKER                                 CIVIL ACTION NO.


VERSUS                                      JUDGE


WINN-DIXIE MONTGOMERY, LLC MAGISTRATE JUDGE
AND WINN-DIXIE STORES, INC.

      LIST OF ALL DOCUMENTS INCLUDED IN STATE COURT RECORD


 1. Civil Cash Receipt

 2. Plaintiff’s Petition for Damages

 3. Requests for Admission, Interrogatories, and Request for Production

 4. Citation to Winn-Dixie Stores, Inc.

 5. Citation to Winn-Dixie Montgomery, LLC

 6. E-Filing Account Overdraw Notice

 7. Citation to Winn-Dixie Stores, Inc. Service Return

 8. Citation to Winn-Dixie Montgomery, LLC Service Return

 9. Letter to Clerk filing Answer and RWN

 10. Request for Written Notice

 11. Answer to Petition for Damages

 12. Civil Cash Receipt
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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA
 IRMA WALKER                            CIVIL ACTION NO.


 VERSUS                                 JUDGE


 WINN-DIXIE MONTGOMERY, LLC MAGISTRATE JUDGE
 AND WINN-DIXIE STORES, INC.

                         LIST OF ALL COUNSEL OF RECORD

Counsel for Plaintiff, Irma Walker

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